        Case 1:21-cr-00175-TJK Document 164-1 Filed 09/14/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   ) CRIMINAL NO.:21-cr-175-TJK
                                                   )
                        v.                         )
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

                                     [PROPOSED] ORDER

       Before the Court is Defendant Ethan Nordean’s motion to receive the sealed portion of

the September 13, 2021 hearing transcript. Nordean’s counsel is subject to the protective order

in this case. ECF No. 103. For the reasons set forth in the motion, it is

       ORDERED, that the motion is GRANTED, and it is further

       ORDERED, that Nordean’s counsel may receive the sealed portion of the September 13

hearing transcript, which is subject to the protective order to the same extent as the underlying

sensitive materials discussed therein.

       IT IS SO ORDERED.

Date: September ___, 2021                             _________________________
                                                      TIMOTHY J. KELLY
                                                      UNITED STATES DISTRICT JUDGE
